       Case 3:22-cv-01452-LC-EMT Document 7 Filed 04/11/22 Page 1 of 2



                                                                        Page 1 of 2

                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

FREDERICK J. SCHMIDT,
Okaloosa County Inmate #00024957,
     Plaintiff,

vs.                                             Case No.: 3:22cv1452/LAC/EMT

O.C.D.O.C., et al.,
Defendants.
     _____________________/

                                      ORDER

      The chief magistrate judge issued a Report and Recommendation on March

1, 2022 (ECF No. 6). The court furnished the plaintiff a copy of the Report and

Recommendation and afforded him an opportunity to file objections pursuant to

Title 28, United States Code, Section 636(b)(1).          I have made a de novo

determination of the timely filed objections.

      Having considered the Report and Recommendation, and the objections

thereto, I have determined the Report and Recommendation should be adopted.

      Accordingly, it is ORDERED:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No. 6)

is adopted and incorporated by reference in this order.
          Case 3:22-cv-01452-LC-EMT Document 7 Filed 04/11/22 Page 2 of 2


                                                                                 Page 2 of 2


       2.      This action is DISMISSED without prejudice, pursuant to 28 U.S.C.

§ 1915(g), based on Plaintiff’s failure to pay the filing fee at the time he initiated this

action.

       3.      All pending motions are DENIED as moot.

       4.      The clerk of court is directed to enter judgment in accordance with this

order and close the case.

       DONE AND ORDERED this 11th day of April, 2022.




                                  s /L.A. Collier
                                  LACEY A. COLLIER
                                  SENIOR UNITED STATES DISTRICT JUDGE




Case No.: 3:22cv1452/LAC/EMT
